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                    IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

 NEIMA BENAVIDES, as Personal
 Representative of the Estate of
 NAIBEL BENAVIDES LEON, deceased,
                                                       CASE: 1:21-cv-21940-BB

       Plaintiff,

 vs.

 TESLA, INC., a/k/a TESLA
 FLORIDA, INC.,

       Defendants.
 ___________________________________/

            DEFENDANT’S ANSWER, AFFIRMATIVE DEFENSES AND
                            JURY DEMAND

        Defendant, Tesla, Inc. [incorrectly identified as “a/k/a Tesla Florida, Inc.”]

  (“Tesla”), through it Counsel Cole, Scott & Kissane, for its Answer to Plaintiff’s

  Complaint, Affirmative Defenses and Jury Demand states as follows:

                                       ANSWER

       1.     Tesla admits that Paragraph 1 of the Complaint contains allegations about

 the statutory basis for the Complaint and Plaintiff’s alleged amount in controversy,

 however, Tesla neither admits nor denies those allegations because they call for a legal

 conclusion in response to which no response is required.
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       2.     Tesla admits that Exhibit A to Plaintiff’s Complaint identifies Neima

 Benavides as the personal representative of the Estate of Naibel Benavides Leon. Tesla

 neither admits nor denies the allegations in Paragraph 2 because they call for a legal

 conclusion in response to which no response is required.

       3.     Tesla neither admits nor denies the allegations in Paragraph 3 because it

 is without sufficient information to form a belief about the truth of those allegations.

       4.     Tesla neither admits nor denies the allegations in Paragraph 4 because it

 is without sufficient information to form a belief about the truth of those allegations.

       5.     Tesla neither admits nor denies the allegations in Paragraph 5 because it

 is without sufficient information to form a belief about the truth of those allegations.

       6.     Tesla admits only that Tesla, Inc., at the time of the incident giving rise

 to this action and at the time this action was commenced, was and still is a corporation

 organized under the laws of Delaware with its principal place of business in California

 and is not organized under the laws of the State of Florida. Tesla further admits it is

 authorized to conduct business in Florida. Tesla denies the remaining allegations in

 Paragraph 6 because they are untrue,

       7.     Tesla admits only that at the time this action was commenced, Tesla was

 and still is a corporation organized under the laws of Delaware with its principal place

 of business in California and is not organized under the laws of the State of Florida,

 where this action was brought but it is authorized to conduct business in Florida and



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 that it sells motor vehicles in Florida. Tesla denies the remaining allegations in

 Paragraph 7 because they are untrue.

       8.     Tesla admits only that it is and has been engaged in the business of

 designing, testing, inspecting and manufacturing, in part, Tesla motor vehicles, and

 distributing, selling and servicing said motor vehicles in various regions, including the

 State of Florida. Tesla further admits it designed, tested, inspected and manufactured,

 in part, a 2019 Tesla Model S under VIN 5YJSA1E24KF302997 (the Subject Vehicle),

 and that the Subject Vehicle was originally sold in the State of Florida. Tesla denies

 the remaining allegations in Paragraph 8 because they call for a legal conclusion in

 response to which no response is required.

       9.     Tesla neither admits nor denies the allegations in Paragraph 9 because it

 is without sufficient information to form a belief about the truth of those allegations.

       10.    Tesla neither admits nor denies the allegations in Paragraph 10 because it

 is without sufficient information to form a belief about the truth of those allegations.

       11.    Tesla neither admits nor denies the allegations in Paragraph 11 because it

 is without sufficient information to form a belief about the truth of those allegations.

       12.    Tesla neither admits nor denies the allegations in Paragraph 12 because it

 is without sufficient information to form a belief about the truth of those allegations.

       13.    Tesla neither admits nor denies the allegations in Paragraph 13 because it

 is without sufficient information to form a belief about the truth of those allegations.



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       14.    Tesla neither admits nor denies the allegations in Paragraph 14 because it

 is without sufficient information to form a belief about the truth of those allegations.

       15.      Tesla neither admits nor denies the allegations in Paragraph 15 because

 it is without sufficient information to form a belief about the truth of those allegations.

       16.    Tesla neither admits nor denies the allegations in Paragraph 16 because it

 is without sufficient information to form a belief about the truth of those allegations.

                                         COUNT I
                                     STRICT LIABILITY

       Tesla restates and incorporates by reference its answers and responses to

 Paragraphs 1 through 16 above as if fully restated here.

       17.    Tesla admits only that it is and has been engaged in the business of

 designing, testing, inspecting, fabricating and manufacturing in part, distributing,

 advertising, leasing and selling motor vehicles with certain express but limited

 warranties and certain of those vehicles are equipped with driver assistance systems

 including as system known as “Autopilot.” Tesla further admits the Subject Vehicle

 was sold with Autopilot. Tesla denies the remaining allegations in Paragraph 17

 because they are untrue.

       18.    Tesla denies the allegations in Paragraph 18 because they are untrue.

       19.    Tesla denies the allegations in Paragraph 19 because they are untrue.

       20.    Tesla neither admits nor denies the allegations in Paragraph 20 because

 it is without sufficient information to form a belief about the truth of those

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 allegations.

       21.      Tesla admits only that it is aware that consumers drive its vehicles and

 that it reasonably expects that consumers will follow the on vehicle warnings as well

 as warnings and instructions in the Owner’s Manual, and that consumers will comply

 with all applicable driving laws and regulations. Tesla neither admits nor denies the

 remaining allegations in Paragraph 21 because it is without sufficient information to

 form a belief about the truth of those allegations.

       22.      Tesla denies the allegations in Paragraph 22 because they are untrue.

       23.      Tesla denies the allegations in Paragraph 23 because they are untrue.

       24.      Tesla denies the allegations in Paragraph 24 because they are untrue.

       25.      Tesla denies the allegations in Paragraph 25 because they are untrue.

       26.      Tesla denies the allegations in Paragraph 26 because they are untrue.

       27.      Tesla denies the allegations in Paragraph 27 because they are untrue.

       28.      Tesla denies the allegations in Paragraph 28, including all subparts,

 because they are untrue.

       29.      Tesla denies the allegations in Paragraph 29 because they are untrue.

       30.      Tesla denies the allegations in Paragraph 30 because they are untrue.

       31.      Tesla denies the allegations in Paragraph 31 because they are untrue.

       WHEREFORE, Tesla, Inc., respectfully requests this Honorable Court dismiss

 Plaintiff’s Complaint with prejudice and to enter a judgment of no cause of action in



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 favor of Defendant, Tesla, Inc., including costs, expenses, and attorney fees, interest

 and all other relief as the Court may deem proper.

                                      COUNT II
                         STRICT LIABILITY FAILURE TO WARN

       Tesla restates and incorporates by reference its answers and responses to

 Paragraphs 1 through 31 above as if fully restated here.

       32.      Tesla admits only that it is and has been engaged in the business of

 designing, testing, inspecting, fabricating and manufacturing in part, distributing,

 advertising, leasing and selling motor vehicles with certain express but limited

 warranties and certain of those vehicles are equipped with driver assistance systems

 including as system known as “Autopilot.” Tesla further states that certain Model X

 vehicles are equipped with Autopilot but this action does not involve a Model X.

 Tesla denies the remaining allegations in Paragraph 32 because they are untrue.

       33.      Tesla neither admits nor denies the allegations in Paragraph 33 because

 it is without sufficient information to form a belief about the truth of those

 allegations.

       34.      Tesla admits only that it is aware that consumers drive its vehicles and

 that it reasonably expects that consumers will follow the on vehicle warnings as well

 as warnings and instructions in the Owner’s Manual, and that consumers will comply

 with all applicable driving laws and regulations. Tesla neither admits nor denies the

 remaining allegations in Paragraph 34 because it is without sufficient information to

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 form a belief about the truth of those allegations.

       35.    Tesla denies the allegations in Paragraph 35 because they are untrue.

       36.    Tesla denies the allegations in Paragraph 36 because they are untrue.

       37.    Tesla denies the allegations in Paragraph 37 because they are untrue.

       WHEREFORE, Tesla, Inc., respectfully requests this Honorable Court dismiss

 Plaintiff’s Complaint with prejudice and to enter a judgment of no cause of action in

 favor of Defendant, Tesla, Inc., including costs, expenses, and attorney fees, interest

 and all other relief as the Court may deem proper.

                             WRONGFUL DEATH DAMAGES

       38.    Tesla neither admits nor denies the allegations in Paragraph 38,

 including all subparts, because it is without sufficient information to form a belief

 about the truth of those allegations.

       38.    (sic) Tesla neither admits nor denies the allegations in Paragraph “38”

 (sic), including all subparts, because it is without sufficient information to form a

 belief about the truth of those allegations.

       39.    (sic) Tesla neither admits nor denies the allegations in Paragraph “39”

 (sic), including all subparts, because it is without sufficient information to form a

 belief about the truth of those allegations.

       WHEREFORE, Tesla, Inc., respectfully requests this Honorable Court dismiss

 Plaintiff’s Complaint with prejudice and to enter a judgment of no cause of action in



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 favor of Defendant, Tesla, Inc., including costs, expenses, and attorney fees, interest

 and all other relief as the Court may deem proper.



                  DEFENSES AND AFFIRMATIVE DEFENSES
       Tesla has not yet had the opportunity to complete its discovery or
 investigation of this matter and, therefore, relies upon the following defenses which
 may prove applicable after discovery or at trial:
       1.     As its first affirmative defense, Tesla alleges that Plaintiff's Complaint
 fails to state a claim upon which relief may be granted and Tesla hereby moves for
 dismissal of Plaintiff Complaint as a matter of law.
       2.     As a further affirmative defense, Tesla alleges that Plaintiff’s alleged
 damages, if any, may have been caused, in whole or in part, by Plaintiff's decedent,
 NAIBEL BENAVIDES LEON'S own negligent acts and/or omissions and,
 therefore, Plaintiff is barred from recovery or, alternatively, Plaintiff’s recovery
 should be reduced by any allocation of fault or responsibility to Plaintiff's decedent.
       3.     As a further affirmative defense, Tesla alleges that the subject accident
 alleged by Plaintiff and the death of Plaintiff's decedent, was caused, in whole or in
 part, by the negligent acts and/or omissions of a third party or parties over whom
 Tesla had neither control, nor the right to control, including George McGee, and,
 therefore, Plaintiff is barred from recovery or, alternatively, are barred from full

 recovery from Tesla.
       4.     As a further affirmative defense, Tesla alleges that the alleged accident
 gives rise to an apportionment of damages, if any, in relation to the degree of fault

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 of the parties, persons, or employers, pursuant to the Florida Supreme Court decision
 of Fabre v. Marin, 623 So. 2d 1182
       (Fla. 1993). In compliance with Nash v. Wells Fargo Guard Services, Inc.,
 678 So. 2d 1262 (Fla. 1996), Tesla identifies the following persons as party and non-
 party tortfeasors in this case: (1) Plaintiff's Decedent, NAIBEL BENAVIDES
 LEON; (2) George McGee; and (3) other currently unidentified parties, persons,

 firms, or corporations over whom Tesla had no control or duty to control, and for
 whose actions Tesla cannot be held responsible or legally liable. Tesla reserves the
 right to amend this affirmative defense to identify any additional individuals or
 entities responsible, in whole or in part, for the Plaintiff's damages as they are
 revealed through investigation and discovery in this case.
       5.     As a further affirmative defense, Tesla alleges that the subject alleged
 accident and the death of Plaintiff's decedent may have been caused, in whole or in
 part, by one or more intervening and/or superseding causes and, therefore, Plaintiff
 is barred from recovery or, alternatively, are barred from full recovery.
       6.     As a further affirmative defense, Tesla asserts that the subject alleged
 accident and Plaintiff’s Complaint are governed by the Tort Reform and Insurance
 Act of 2006, which, among other things, addresses joint and several liability (or the
 abolition thereof) and nonduplication of collateral source benefits. Tesla
 affirmatively pleads all of the defenses and rights available to it under said Act.
       7.     As a further affirmative defense, Tesla alleges that the loss alleged
 resulted from the abuse, misuse, or alteration of the Subject Vehicle in question and,
 hence, the Plaintiff may not recover.


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        8.     As a further affirmative defense, Tesla alleges that the Subject Vehicle
  was manufactured in a reasonably safe manner in full compliance with all applicable
  laws, statutes, and regulations and, hence, the Plaintiff may not recover. Tesla further
  contends that pursuant to Florida Statute §768.1256, there is a rebuttable
  presumption that the Subject Vehicle was not defective.

        9.     As a further affirmative defense, Tesla alleges that the Subject Vehicle
  was not unreasonably dangerous, defective, or unsafe, since the product was
  designed and manufactured in accordance with the technical knowledge and
  published scientific literature available at the time of design and manufacture. Tesla
  specifically pleads and asserts the state-of-the-art defense pursuant to Florida Statute
  §768.1257.
        10.     As a further affirmative defense, Tesla alleges that the Subject Vehicle
  is not defective or unreasonably dangerous.
        11.    As a further affirmative defense, Tesla alleges that it may have been
  prejudiced in its defense to the extent that evidence relevant to this case may have
  been destroyed or altered by others.
        12.     As a further affirmative defense, Tesla alleges that Plaintiff is barred
  from recovering all damages or medical expenses paid or payable from collateral
  sources.
        13.     As a further affirmative defense, Tesla alleges that it is entitled to a set-
  off for all settlements and compensation that the Plaintiff has received, or may
  receive, as a result of the death of Plaintiff's decedent.


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        14.     As a further affirmative defense, Tesla alleges that it is entitled to, and
  claims benefit of, all defenses and presumptions set forth or arising from any rule of
  law or statute in the State of Florida.
        15.     As a further affirmative defense, Tesla alleges that Plaintiff’s claims
  may be barred by the applicable statute of repose.
        16.     As a further affirmative defense, Tesla alleges that Plaintiff has not

  properly identified and separated its claims pursuant to Florida Rule of Civil
  Procedure 1.110(f). As a further affirmative defense, Tesla alleges that Plaintiff has
  not established that this Court has personal jurisdiction over TESLA and therefore
  objects to this Court’s attempt to exercise personal jurisdiction over Tesla.
        17.     Tesla reserves the right to amend or supplement these Affirmative
  Defenses as discovery and investigation continues and throughout trial.



                             DEMAND FOR JURY TRIAL

        Tesla hereby demands a trial by jury for all triable issues.


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

  this 25th day of May, 2021, with the court via CM/ECF, which will send notification

  of such filing to all attorneys of record.

                                                    s/ Henry Salas____
                                                    Henry Salas, Esq.
                                                    Attorney for Defendant, Tesla, Inc..



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